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UNITED STATES BANKRUPTCY COURT
DISTRICT OF UTAH
PDF FILE WITH AUDIO FILE ATTACHMENT

      19-02043
      State Bank of Southern Utah v. Beal
      Evidentiary Hearing on Motion to Extend Time for Filing Adversary
      Proceeding, Motion to Dismiss Adversary Proceeding, and Motion to Strike




      Case Type :                    ap
      Case Number :                  19-02043
      Case Title :                   State Bank of Southern Utah v. Beal

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